Case 2:05-Cr-20252-BBD Document 33 Filed 07/27/05 Page 1 of 2 Page|D 34

m THE UNITED STATES DIsTRlCT COURT F""i i“'"‘“’ finn o.e,
FOR THE WESTERN DISTRICT or TENNESSEE
WESTERN DIvIsloN 95 JUL 27 PH != |3

 

UNITED STATES OF AMERICA

 

V. 05-20252-03-D

ZADRICK BEARD

 

ORDER ON ARRAIGNMENT

 

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This cause came to be heard on QA;_//h 51 7 2 0 03 , the United States Attorney
for this district appeared on behalf of the §verm@nt, and the defendant appeared in person and With
counsel:

NAME EXMLLU vaM/VW M" who is Retained/Appointed.

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
sh;)yi to a District Judge, such period is extended

The defendant, who is not in custody, may stand on his present bond.

The defendant, (not having made bond) (being a state prisoner) (being a federal pri soner)
(being held Without bond pursuant to BRA of 1984), is remanded to the custody of the U.S. Marshal.

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UNITED STATES MAGISTRATE JUDGE

CHARGES: 18:1343 & 2;

U. S. Attorney assigned to Case: C. McMullen

Age:o? l
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Thls document entered on the docket oh ln » 2
with Ru|e 55 and.for 32(b) FRCrP on___ § M Q)

 

   

UNITED sATE DISTRICT COURT - WETERN DISTRCT OFTENNESSEE

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This notice confirms a copy of the document docketed as number 33 in
case 2:05-CR-20252 Was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

